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                                  UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF PENNSYLVANIA


ALLAN ROMERO                                        )    Case Number
                                                    )
            Plaintiff,                              )
                                                    )
    vs.                                             )    CIVIL COMPLAINT
                                                    )
ACADEMY COLLECTION SERVICES, INC.                   )
                                                    )    JURY TRIAL DEMANDED
          Defendant.                                )
                                                    )

                                COMPLAINT AND JURY DEMAND

               COMES NOW, Plaintiff, Allen Romero, by and through their undersigned

      counsel, Warren & Vullings, LLP, complaining of Defendant, and respectfully aver as

      follows:

               I.      INTRODUCTORY STATEMENT

               1.      Plaintiff is an individual consumer and brings this action for actual and

      statutory damages and other relief against Defendant for violations to the Fair Debt

      Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) which prohibits debt

      collectors from engaging in abusive, deceptive and unfair practices.

               II.     JURISDICTION

               2.      Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

      §1337.

               3.      Venue in this District is proper in that the Defendant’s principal place of

      business is here and the Defendant transacts business here.
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       III.    PARTIES

       4.      Plaintiff, Allan Romero (“Plaintiff”), is an adult individual and citizen of

the State of California, residing at 2139 E. 4th Street #201, Ontario, CA 91764.

       5.      Defendant, Academy Collection Services, Inc. (“Academy” or

“Defendant”) had, at all times relevant to this complaint, its principal place of business

located at 10965 Decatur Road, Philadelphia, PA 19154.

       6.      Defendant is engaged in the collection of debts from consumers using the

mail and telephone. Defendant regularly attempts to collect consumer debts alleged to be

due to another, in this instance the alleged account was with Capital One. Defendant is a

“debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

       IV.     FACTUAL ALLEGATIONS

       7.      Beginning in July 2008, Plaintiff started receiving a series of harassing

calls from defendant and/or Defendant’s agents. The harassing calls are relative to a

consumer debt allegedly incurred by Allan Romero with Premier Bank.

       8.      Plaintiff received numerous calls to his residence from agents of the

Defendant. One of the agents was identified only as “Irwin” and the other was a female

who left a message for the Plaintiff.

       9.      The phone number the agents called from were 888-219-4241. The phone

number the agents called to was Plaintiff’s home (909-944-9174).

       10.     The Plaintiff requested that the Defendant send to him in writing proof of

the debt and proof that the Defendant had the authority to collect on the account but the
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Defendant refused and never sent any documentation. In fact, the Plaintiff was told that

“the bank had sent plenty of letters” and they would not.

         11.     The Defendant, by and thru its agents, threatened to contact the Plaintiff’s

fiancé and tell her about the debt.

         12.     The Defendant, by and thru its agents, threatened to garnish the Plaintiff’s

wages.

         13.     The Defendant, by and thru its agents, demanded the Plantiff’s social

security number and credit card number.

         14.     Despite numerous requests by the Plaintiff to stop calling, the Defendant,

by and thru its agents, continued to harass and insult the Plaintiff and call him

irresponsible.

         15.     Neither the Defendant nor any agent of the Defendant ever gave the

Plaintiff a mini-Miranda warning during their telephone conversations.

         16.     The harassing, intimidating, deceptive and bullying behavior of the

Defendant are violations of the FDCPA.



                                          COUNT I
                      FDCPA VIOLATION 15 U.S.C. § 1692 et seq.

         17.     The above paragraphs are hereby incorporated herein by reference.

         18.     The foregoing acts and omissions constitute violations of the FDCPA,

including, but not limited to, violations of §§ 1692 d, d(5), d(6), e, e(2), e(3), e(4), e(5),

e(10), e(11), f, and g.

         19.     As a result of the foregoing violations of the FDCPA, Defendant is liable
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to Plaintiffs for a declaratory judgment that Defendant’s conduct violated the FDCPA,

actual damages, statutory damages, attorney’s fees and costs and other appropriate relief,

pursuant to 73 P.S. § 201-9.2.

        WHEREFORE, Plaintiffs respectfully request that this court enter judgment in

their favor and against Defendant and Order the following relief:

        a.     Declaratory judgment that the Defendant’s conduct violated the FDCPA;

        b.     Actual damages;

        c.     Statutory damages pursuant to 15 U.S.C. §1692k;

        d.     Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        e.      Such addition and further relief as may be appropriate or that the interests
of justice require.


        V.     JURY DEMAND

        Plaintiff hereby demands a jury trial as to all issues herein.




                                       Respectfully submitted,

                                       WARREN & VULLINGS, LLP

Date:    09/12/08                      BY:       /s/ Brent F. Vullings________
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